           CASE 0:21-cv-00716-WMW-DTS
Inmates at Roseville halfway house cite fears after Doc. 1-1 Filed 03/16/21
                                                    coronavirus'spread          Page 1T...
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              NEWS > CRIME & PUBUC SAFEW


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              A sign directs people to the Roseville Rasidential Reontry Cenler, operated by
              Volunteers of Ar*eriea MNA,VI, in Roseville. (John Autey I Pioneer Press)


              By MARA H.GOTTFRIED           I mgottfried@pioneerpress.com I Pioneer
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https://www.twincities. com/2020l09l02hnnates-at-roseville-halfway-house-cite-fears-after-...          31712021
            CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 2 of 58
Inmates at Roseville halfivay house cite fears after coronavirus 'spread like wildfire' - T... Page 2 of 6


               PUBLISI-IID: September 2,2a2o at 5:42 a.m. I UPDATED: September 2,2020 at
               12:'16 p.m.




               As the coronavirus cases piled up at a Roseville halfway house, some
               residents say their health has been put in danger.

               The Roseville Residential Reentry Center houses people after they serve time
               in federal or state prison, while they're starting jobs and finding housing.
               There were 18 confirmed cases of COVID-19 connected to the facility as of
               Tuesday, according to the Minnesota Department of Health.

               Residents say theyve been forced to quarantine in risky situations. The
               facility, meanwhile, says room sizes are in accordance with federal and state
               corrections guidelines.

               But with U.S. Attorney General William Barr in March directing the federal
               Bureau of Prisons to identify older and at-risk inmates for release to home
               confinement, due to the coronavirus pandemic, some residents question why
               they have to continue to stay at the Roseville halfrruay house. They say they
               were eligible for home confinement before the COVID-19 outbreak.

               The facility, operated by Volunteers of America MNAlll, encourages and
               supports "home conflnement whenever appropriate," said Steve Nelson,
               communications director.



               HOME CONFINEMENT VS. HALFWAY HOUSE

               One resident, Mike Geraci, said he's past the date he was eligible for home
               confinement. And he said he has asthma, which can put people at increased
               risk for severe illness from COVID-19.

               Geraci, 32, said he's been doing "everything you hope would happen" when
               someone is released from prison. He served nine years for a federal firearm
               offense and arrived at the halfrruay house on July 15.

               He said he got a job, has been going to Alcoholics Anonymous meetings and
               affpnding rhrrrrh       all "qtrrff I'vp npvpr donp in my lifp hpfnrp "
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Inmates at Roseville halfway house cite fears after Doc. 1-1 Filed 03/16/21
                                                    coronavirus'spread          Page 3
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                                                                                       T...

               Before the outbreak, Geraciwas working at a distribution center and earning
               enough to rent a studio apartment. But Geracr said he wasn't allowed to leave
               to look for an apartment       he said the halfway house cited the risk of
                                          -
               coronavirus, though he believes he would have been safer if he was put on
               home confinement before people started getting sick.

               Due to COVID-19, the VOA weighed various factors when deciding whether to
               permit someone to leave to look for housing, according to Nelson.

               Federal inmates, in their final months before their release from custody, may
               transfer to a halfiruay house or home confinement, where the/re monitored,
               said Bureau of Prisons spokesmanJustin Long.

               Corrections workers determine the date people are eligible for home
               confinement. The VOA then makes a recommendation, which is based on a
               person having stable, verified housing, along with their record on peaceful
               behavior and following rules, according to Nelson. Corrections officials have
               the final say.

               Nelson said being assigned to a reentry center like the one in Roseville can be
               stressful.

               'They can taste freedom but technically they're still incarcerated," Nelson
               said. "... We want to provide a safe and welcoming environment, but we also
               need to balance that with the accountability demanded."



               INITIALLY HAD TO GO FOR TESTING BY BUS
               Another resident, Ronnie Reed, was also concerned about coronavirus
                                                                                            -   he
               is 58 and already had lung problems. When he felt sick Aug. 17, he said it
               wasn't easy to find a place to get tested.

               'You'd think a place like this would be a little more responsible and have a
               plan in place," Reed said. "... It just spread like wildfire around here."

               He said he was worried about putting others at      risk but had to take a bus to
               the hospital for a test on Aug. 18. He found out the next day he had COVID-
               19.


               Since MDH has been involved,       the/ve done in-facility testing and sent some


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Inmates at Roseville halfway house cite fears after coronavirus 'spread like wildfire' - 4 of 58Page 4 of 6

               Previously, people going for testing were offered N-95 masks, face shields and
               gloves, according to Nelson. He said the facilrty wasn't equipped to provtde
               transportation, though many went with relattves or in private transportatton.



               HEALTH DEPARTMENT TESTING

               The Minnesota Department of Health, along with Ramsey County Public
               Health and VOA Roseville, decided to test all residents and staff, according to
               Doug Schultz, an MDH spokesman, That happened last Wednesday, six days
               after MDH says they learned of the first case of a resident having COVID-19.

               The testing will continue weekly until no new cases are identified, Schultz
               said.

               The Bureau of Prisons will not be sending people to the Roseville facility until
               the number of cases "significantly declines," Long said Monday. There have
               been seven confirmed cases among federal inmates.

               There are 19 people on Minnesota Department of Corrections work release
               status at the facility, nine who have tested positive for COVID-19, according to
               Nick Kimball, DOC spokesman. DOC will continue monitoring the situation.

               They "have assured us they are able to appropriately isolate and quarantine
               as needed," Kimball said.



               QUARANTTNE CONCERNS
               Geraci said he and other residents have been required to quarantine since
               last week. He was initially housed with three other men in a room that he said
               is too small to allow   for social distancing.

               He and his roommates tested negative for COVID-19 last week but men in
               the room next door tested positive and they had to continue sharing     a

               bathroom.

               Nelson said in the one instance of a shared bathroom between rooms at the
               facility, residents were issued disinfectant for it and offered access to another
               restroom.



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            CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 5 of 58
Inmates at Roseville halfway house cite fears after coronavirus 'spread like wildfire' - T... Page 5 of 6


               On Saturday, Geraci stafted feeling sick. He was moved to a single room,
              though Geraci said it was just vacated by a man who tested positive for
               COVID-I9. He said the man's belongings remained, as did his linens on the
               bed.

               Nelson said they weren't aware of that situation "and if that were to happen,
               and we were informed, it would have been corrected immediately."

               On Monday, Geraci was taken by ambulance to the hospital to be tested. He
               found out Tuesday that he tested negative for COVID-19, but was told by his
               case manager he still has to quarantine.




                 Tags: Coronavirus,                           Health, Minnesota, Ramsey Counry, Roseville



                                                                                   SPONSORED CONTENT

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               efficiently to -=--E
                              execute projects that deliver results on time.




                            Mara H, Gottftied I St. Paul crime and
                            public safety reporter
               Mara Gottfried has been a Pioneer Press reporter since 2001, mostly covering public
               safety" Gottfried lived in 5t. Paul as a young child and returned to the Twin Cities after
               graduating from the University of Maryland. You can reach her at651-228-5262.


                                                                                                          mgottf risd@pionaerprsss.com

                                             {   Follow Mara H. Gottfried mara.gottfriad   *   Follow Mara H. Gottkiad @MaraGottfried



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              CASE 0:20-cv-02661--PAM-ECW Doc.            7-1     Filed 0t_/06/21_ page 4 of             56    &


p.       Establish Greatest, High, and Moderate severity level prohibited acts for abuse of the mail.

q.       Establish a sanction of monetarv fine.

r.      Remove the fonnal sanctions of reprimand and warning.

s. Increase the sanction ofdisciplinary      segregation frorn a range     of7 to 60 days to a range of 1 to
18 months.


t.      Change from three work days to five work days for the UDC to ordinarily conduct a review.

u. The Special Housing Unit policy (conditions of disciplinary segregation, administrative
detention, and protection cases) has been removed and guidance is provided in a separate
program statement.

3. PRINCIPLES

Several general principles apply to every disciplinary action:

a. Incident reports can be written by Bureau staff, Federal Prison Industries (FPI) staff, and
Public Health Service (PHS) officers detailed to the Bureau. Community Corrections Manasers
may take disciplinary action on inmates in contract RRC's.

b.  Staff take disciplinary action at such times and to the degree necessary to regulate an inmate's
behavior within Bureau rules and institution guidelines and to promote a safe and orderly
institution environment.

c. staff control     inmate behavior in an impartial and consistent manner.

d. Disciplinary action      may not be capricious or retaliatory.

e. Staff may not impose or allow corporal punishment of any kind.

4. DIRECTIVES AFFECTED

a. Directive Rescinded

P5270.08            Inmate Discipline and Special Housing Units (1214109)

b. Directives Referenced

P1315.07            Inmate Legal Activities (1115199)
P   1   330.1 6     Administrative Remedy Program (l2l3l 107)
P1505.03            Language Translations Used in Official Documents (10131197)

P5270.09 718/2011 Federal Regulations are shown in this   type.   Implementing instructions: this fype
        CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 7 of 58
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ALDF-6C-18.

6. INSTITUTION SUPPLEMENTS

None required.

7. NOTICE TO INMATE OF THE INMATE DISCPLINE PROGRAM

Staff must give each inmate a copy of the following documents promptly after his/her arrival at
an institution:

#   Summary of the Inmate Discipline System (Appendix B).
#   Inmate Rights and Responsibilities (Appendix C).
#   Prohibited Acts and Available Sanctions (Table 1).

Receipt of these documents must be noted on the intake screening form and maintained in the
inmate's central file. The receipt is kept in the inmate's central file.

To the extent reasonably available, a qualified staff member or translator will help an inmate who
has a language or literacy problem, in accordance with the Program Statement Language
Translations Used in Official Documents.




P5270.09 71812011 Federal Regulations are shown in this   type.   Implementing instructions: this   type.   6
           CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 8 of 58

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                                                                                                                 &


Appendix C. INMATE RIGHTS AND RESPONSIBILITIES

     RIGHTS                                           RESPONSIBILITIES

1.   You have the right to expect                     1. You are responsible for treating
     that you will be treated in a                    inmates and staff in the same manner.
     respectful, irnpartial. and fair
     manner by all staff.

2.   You have the right to be informed                2. You have the responsibility to
     of the rules, procedures, and                    know and abide by them.
     schedules concerning the
     operation of the institution.

3.   You have the right to freedom of                 3. You have the responsibility to recognize
     religious affrliation and voluntaty              and respect the rights ofothers in this
     worship.                                         regard.


4. You have the right to health                       4. It is your responsibility not
     care, which includes nutritious                  to waste food, to follow the
     meals, proper bedding and clothing,-             laundry and shower schedule,
     and a laundry schedule for                       maintain neat and clean living
     cleanliness of the same, an                          quarters, to keep your area
     opportunity to shower regularly,                     free ofcontraband, and to
     proper ventilation for warmth                        seek medical and dental care
     and fresh air, a regular exercise                    as vou mav need it.
     period, toilet articles, and
     medical and dental treatment.

5.   You have the opportunity to visit                    5.   It is your responsibility to
     and correspond with family members                   conduct yourself properly
     and friends, and correspond with                     during visits. You will not
     members of the news media, in                        engage in inappropriate conduct
     accordance with Bureau rules and                     during visits to include
     institution guidelines.                              sexual acts and introduction ofcontraband,
                                                          and not to violate the law or Bureau
                                                          guidelines through your colrespondence.

6.   You have the right to unrestricted                   6. You have the responsibility to
     and confidential access to the                       present honestly and fairly
     courts by correspondence (on                         your petitions, questions, and
     matters such as the legality of                      problems to the court.
     your conviction, civil matters,
     pending criminal cases, and
     6onditions of your imprisonment.)
p5270.0g 7/8/2011 Federal Regulations are shown in this   type.   Implementing instructions: this   type'   40
        CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 9 of 58
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 Sainrer Micha€l Oeraci        l)CI#r RandyNihla
 trtE$#: 1,6492-Ml Case Manager: FeliciaPereu
 Bafe crf Amivak 071L6ilA2fi C5:44 PM StsffIins*r*E: Felicia Perez
 Facility : Roseville-Male


 FEDERAL ACKNOWLED GEMENT
 I hereby acknowledgrtbatlhalc received e cqpy of, and haveread orhavehad read b me, fra rulcs
 aud policies govenring rny stay et the Volunters of Aseriga Residential C€rrtfr, that I ftily
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 *oeply with then. This includes acknowlcdgemeirl cfthe Bweau of Prisons Prohibited Acts.
 Signature:




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      CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 10 of 58
        CASE 0:20-cv-02661-PAM-ECW Doc. 7-1 Filed 01/06/21- Page 2 of 56




           U.S. Department of Justice
           Federal Bureau of Prisons

PROGRAM STATEMENT
OPI:              CPD/CSB
NUMBER:           5270.09
DATE:             July 8, 201l.



Inmate Discipline Program

              /s/
Approved: Thomas R. Kane
Director, Federal Bureau of Prisons


1. PURPOSE AI\D SCOPE

S   541.1 Purpose.

This subpart describes the Federal Bureau of Prisons' (Bureau) inmate discipline
program. This program helps ensure the safety, security, and orderly operation
of correctional facilities, and the protection of the public, by allowing Bureau staff
to impose sanctions on inmates who commit prohibited acts. Sanctions will not
be imposed in a capricious or retaliatory manner. The Bureau's inmate discipline
program is authorized by 18 U.S.C.4042(aX3).

S   541.2 Application.

This program applies to sentenced and unsentenced inmates in Bureau custody.
 It also applies to sentenced and unsentenced inmates designated to any prison,
institution, or facility in which persons are held in custody by direction of, or
under an agreement with, the Bureau of Prisons.

This policy applies to all persons in the custody of the Federal Bureau of Prisons or Bureau
contract facilities, including persons charged with or convicted of offenses against the United
States; D.C. Code felony offenders; and persons held as witnesses, detainees, or otherwise.
These provisions do not apply to Federal inmates designated to a non-Federal facility (e.g.,
inmates serving Federal sentences in state or county facilities).

Federal Regulations from 28 Code of Federal Regulatio""   O* r*t     are shown in this type.
Implementing instructions are shown in this type.



P5270.09 71812011 Federal Regulations are shown in this   type.   Implementing instructions: this   type.   2
       CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 11 of 58
         CASE O:20-cv-02661--PAM-ECW Doc.       7-1   Flled   OtlO6l2I Page   1-   of 56




          U.S. Department of Justice
          Federal Bureau of Prisons


C HAN G E       NOTICE
OPI:           CPD/CPB
NUMBER:        5270.09, CN-1
DATE:         November 18,2020


Inmate Discipline Program

       /s/
Approved: M.D. Carvajal
Director, Federal Bureau of Prisons

This Change Notice (CN) implements the following change to Program Statement 5270.09,
Inmate Discipline Program, dated July 8, 2011. Additional discipline code, noted by
highlighted text will be added to the program statement as follows:



Table 1. PROHIBITED ACTS AND AVAILABLE SANCTIONS

          HIGH SEVERITY LEVEL PROHIBITED ACTS

231    Requesting, demanding, pressuring, or otherwise intentionally creating a
situation, which causes an inmate to produce or display his/her own court
documents for any unauthorized purpose to another inmate.
                CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 12 of 58

    ,>-A0288                                                          INCIDENT REPORT
JAN 17
U.S. DEPARTMEHT OF JUSTICE                                                                                           FEDERAL BURE'IU OF PRISO}Is

                                                                    Partl-lncidentReport
                              of America   - Residential                                       Incident Report Number 102

    2. Inmate's Nams Michael                                   |   3. Register Number:                                               5. Time:0017
                                                                   18492-041
                                tntrance RRC                                                                              8"   Unil Bureau of Prisons

    9, lncident Escape (ova 4 hours)                                              10. Prohibited   Ad Code
1   1. Description of lncident (Date:   *9130i20_          Time:   _0017_        Staff became aware




On 9/30/20 at 001 7, Mr. Geraci 1 6492-041 walked past the rrntrol center with his backpack and one tash bag out the            font door past staff. As of 0g07,
the writing of this lR, Mr. Geraci has yet to retum to VOARRC.


Based on the lnformation above, Mr. Geraci is charged with code 102, specifically escape (over 4 hou6).




      12.   Typed NameJSignature of Reporting Emptoyee:                           13, Date And Time:
                                                                                  9/30p0   0807
     Ashley Sykora (Program Manager)


      14. lncident Repon Delivered to Above tnmate                 15. Date Incident Report Delivered:       16. Time Incident Repcrt Delivered:
            [Vpe   wamefsignatr:re]: Ryan Kortronen



                                                                           rtfulza                                             { uLu
              CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 13 of 58

. -40288                                                              IilICIDENT REPORT
JAN 17
U.S. DEPARTMENT OF JUSTICE                                                                                             FEDERA,L SUREAU OF PR'$Of-IS

                                                                    Partl-lncidentReport
    1. lnsutution: Volunteers of America   - Residential                                                           Nunber:101
         Center
 2. lnmale's Name: tulichael GERACI                                3. Register Number                                                  5. Time: '1748
                                                                   1€d,92-O41
    6. Placeof Incideni; Dining   Rom                                                                                       8.   Unil Bureau of Prisons

    9. lncident Assaulting any person                                              tu.           Act Code (s): 101

11. Description of lncident {Dalel   _                     Time:   _1748_         Staff became aware of incident):




on  9129120 at 1748, Mr' Geraci 1€492-041 uialked up to MatthewTaylor 14450441 who was sitting down at the
                                                                                                                     dining room iable. They appear to
excfcnge some words and Mr.               watks away. Seconds later, Mr. Geraci retums to the table ilr. Taylor is sitting at and throws a totaf of S punches at
                                 _Geraci
Mr. Taylor hitting him twice in his left eye and once to the body.


Based on the infoffiatio/t above, Mr. Geraci is     chargd with code    101, specifically assaulting any person.




                Name/Signature                   Employee:                         '13. Date And Time:
                                                                                   9130120 0801
     Ashley Sykora (Pmgram Manager)



     14. Incident   Rwort Delivered to Above lnmate By              5. Date Incident Report Deliver$:                   lncident Report Oelivered:
                                   Byan Korhonen


                                                                           tt I rrl>a
      CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 14 of 58
       CASE 0:20-cv-02661-PAM-ECW Doc. 7-1- Filed 01/06/2i_ Page 45 of 56




Table 1. PROHIBITED ACTS AND AVAILABLE SANCTIONS

GREATEST SEVERITY LEVEL PROHIBITED ACTS

100      Killing.

101      Assaulting any person, or an armed assault on the institution's secure
         perimeter (a charge for assaulting any person at this level is to be used
         only when serious physical injury has been attempted or accomplished).

102      Escape from escort; escape from any secure or non-secure institution,
         including community confinement; escape from unescorted community
         program or activity; escape from outside a secure institution.

103      Setting a fire (charged with this act in this category only when found to
         pose a threat to life or a threat of serious bodily harm or in furtherance of a
         prohibited act of Greatest Severity, e.9., in furtherance of a riot or escape;
         otherwise the charge is properly classified Gode 218, or 329).

104 Possession,       manufacture, or introduction of a gun, firearm, weapon,
         sharpened instrument, knife, dangerous chemical, explosive, ammunition,
         or any instrument used as a weapon.

105      Rioting.

106      Encouraging others to riot.

107      Taking hostage(s).

108      Possession, manufacture, introduction, or loss of a hazardous toot (tools
         most likely to be used in an escape or escape attempt or to serve as
         weapons capable of doing serious bodily harm to others; or those
         hazardous to institutional security or personal safety; e,g., hacksaw blade,
         body armor, maps, handmade rope, or other escape paraphernalia,
         portable telephone, pager, or other electronic device).

109 (Not to be used).
1   10   Refusing to provide a urine sample; refusing to breathe into a Breathalyzer;
         refusing to take part in other drug-abuse testing.

111 Introduction or making of any narcotics, marijuana, drugs, alcohol,
         intoxicants, or related paraphernalia, not prescribed for the individual by
         the medical staff.

P5270.09 71812011 Federal Regulations are shown in this   type.   Implementing instructions: this   tlpe.   45
    CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 15 of 58
      CASE O:20-cv-02661--PAM-ECW                  Doc.7-L Filed 01/06/2L Page 46 of 56




112 Use of any narcotics, marijuana, drugs, alcohol, intoxicants, or related
       paraphernalia, not prescribed for the individual by the medical staff.

113    Possession of any narcotics, marijuana, drugs, alcohol, intoxicants, or
       related paraphernalia, not prescribed for the individual by the medical staff'

114    Sexual assault of any person, involving non-consensual touching by force
       or threat of force.

115    Destroying and/or disposing of any item during a search or attempt to
       search.

196    Use of the mail for an illegal purpose or to commit or further a Greatest
       category prohibited act.

1gT    Use of the telephone for an illegal purpose or to commit or further a
       Greatest category Prohibited act.

198    Interfering with a staff member in the performance of duties most like
       another Greatest severity prohibited act. This charge is to be used only
       when another charge of Greatest severity is not accurate. The offending
       conduct must be charged as "most like" one of the listed Greatest severity
       prohibited acts.

1gg Conduct which disrupts or interferes with the security or orderly running of
       the institution or the Bureau of Prisons most like another Greatest severity
       prohibited act. This charge is to be used only when another charge of
       Greatest severity is not accurate. The offending conduct must be charged
       as ,,most like" one of the listed Greatest severity prohibited acts.

AVAILABLE SANCTIONS FOR GREATEST SEVERITY LEVEL PROHIBITED ACTS

A. Recommend parole date rescission or retardation.
B. Forfeit and/or withhold earned statutory good time or non-vested good
   conduct time (up to 100%) and/or terminate or disallow extra good time (an
   extra good time or good conduct time sanction may not be suspended).

8.1.   Disallow ordinarily between 50% and 75% (27-41 days) of good conduct
       time credit available for year (a good conduct time sanction may not be
       suspended).

C. Disciplinary segregation (up to 12 months).
p5270.0g   7l8l2}ll   Federal Regulations are shown in this   type.   Implementing instructions: this   type.   46
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Appendix B. SUMMARY OF INMATE DISCPLINE SYSTEM

1. Staff becomes aware of inmate's involvement in incident or once the report is released for
administrative processing following a refenal for criminal prosecution.
                        t-
     ordinarily maximum of 24     hours
                                                                              I
                                                                              I
                        I
2.   Staff gives inmate notice of  charges                                    I
     by delivering Incident Report.


                            maximum ordinarily of 5 work days from the
                            time staff became aware of the inmate's
                            involvement in the incident. (Excludes
                            the day staff become aware of the inmate's
                            involvement, weekends, and holidays.)

                                                                              I
                                                3.        Initial revlew (uDC)

        minimum of 24 hours
         (unless waived)

4. Discipline   Hearing Offrcer (DHO) Hearing




NOTE: Time limits     are subject to exceptions as provided in the rules.

Staff may suspend disciplinary proceedings for a period not to exceed two calendar weeks while
undertaking informal resolution. If informal resolution is unsuccessful, staff may reinitiate
disciplinary proceedings. The requirements then begin running at the same point at which they
were suspended.




P5270.09 71812011 Federal Regulations are shown in this   type.   Implementing instructions: this   type.   39
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CHAPTER 4.

S   541.7 Unit Discipline Committee (UDC) review of the incident report.

A Unit Discipline Committee (UDC) will review the incident report once the staff
investigation is complete. The UDC$s review involves the following:

(al Available dispositions. The UDC will make one of the following decisions
after reviewing the incident report:

(1) You committed the prohibited act(s) charged, and/or a similar prohibited
act(s) as described in the incident report;

(2) You did not commit the prohibited act(s) charged; or

(3) The incident report will be referred to the Discipline Hearing Officer (DHO) for
further review, based on the seriousness of the prohibited act(s) charged.

(4) If you are charged with a Greatest or High severity prohibited act, or are an
inmate covered by $ 5a1.4, the UDC will automatically refer the incident report to
the DHO for further review.

(b) UDC members. The UDC ordinarily consists of two or more staff. UDC
members will not be victims, witnesses, investigators, or otherwise significantly
involved in the incident.

The Warden designates ordinarily two or more unit staff members to hold an initial review and
impose available sanctions upon completion of the investigation of alleged misconduct for
moderate category and low category offenses. One staff member UDCs are permitted when other
members are not reasonably available.

Only one unit staff member is required to hold an initial review when the incident report is
required by policy to be referred to the DHO.

A statf member witnessing an incident may serve on the UDC in cases where virtually every staff
member in the institution witnessed the incident in whole or in part.

A staff member may not sit on the UDC without successfully completing the self-study program
for UDC certification.

Each Warden must select at least one UDC Trainer to monitor the progress of staff participating
in the self-study program.




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                                  "l                          "




        lf an inmate waives the rightto appear at the UDC review, the UDC ensures the inmate is advised of the
        rights afforded at a hearing before the DHO (see forms for Inmate Rights at Discipline Hearing and Notice
        of Discipline Hearing Before the Discipline Hearing Officer (DHO)).

        (h) Written report.     You will receive a written copy of the UDCSs decision following its review of the
        incident report.
        TheUDCpreparesarecordof itsproceedings,whichneednotbeverbatim. Arecordofthehearingand
        supporting documents is kept in the inmate's central file.

        The UDC gives the inmate a written copy of the decision and disposition by the close of business the next
*,L
        work day. Action taken as a minor disposition may be reviewed under the Administrative Remedy
"I--{   Program (see 28 CFR Part 542, Subpart B.).

        All UDC member{s) must printtheir name and sign Part iiof the incident reportto certifytheyserved on
        the UDC and that the completeci Part ll accuratelv refiecis their review.

        When the UDC finds the inmate committed the proiribited act charged or a similar prohibited act refiecteci
        in the incident report, the chair ensures the information is entered into SENTRY in the Chronologicai
        Disciplinary Record.

        (i) Appeals. You may appeal the UDCSs action(s) through the Administrative Remedy Program, 28                CFR
        Part542, Subpart B.

        P5270.09   7   /8120!l   Federal Regulations are shown in this     type. lmplementing instructions: this    type.
        27
        The Program Statement Administrative Remedy Program covers the regulations in 28 CFR Part 542,
        Subpart B. In addition to a review under the Administrative Remedy procedure, the Warden or designee
        audits and reviews discipline hearings and dispositions to ensure conformity with this policy.

        When the UDC holds a full review and determines that the inmate did not commit a prohibited act of
        Moderate cr Low severity, the UDC expunges the inmate's file of the incident report and related
        docurnents.
        P527A.09   7   /8/?Af-   Fecieral Regulations are shown in i.his   ti:pe. lmplementing instructicns: this   type.
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        CHAPTER 5.
        5 541.8 Discipline Hearing Officer (DHO) hearing.
        The Discipline Hearing Officer (DHO) will only conduct a hear';rri cn ihe incident repcrt if referreC by the
        UDC. The DHC$s hearing Involves the following:
        ia) Availaoie o'ispcsitions. The DHO will make one c{ the follorning decisions after a hearing on the
        incident report:
        (1) You commiiied the prohibited act(s) charged, ana/or       a similar prohibited actis) as described in the
        incident report;
         {2) You did not commit the prohibited act(s} charged; or
         (3) The incident reportwill be referred backforfurther investigation, review, and disposition.
         (b) Discipline flearing Officer. The DHO will be an impartialdecision maker who was not a victim, witness,
        investigator, or otherwise significantly involved in the incident.
         The term Discipline Hearing Officer (DHO) refers to a one-person, independent officer who conducts
        hearings and imposes sanctions for incidents of misconduct referred by the UDC. A DHO may not conduct
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                  ..-! $ "   rC-J



administrative processing. However, the inmate should be advised of the delay, and if appropriate, the
reason for the delay.

(d) Inmate appearance.    You are permitted to appear before the UDC during its review of the incident
report, except during UDC deliberations or when your presence would jeopardize institution security, at
the UDC's discretion. Also:
 (1) You may appear either in person or electronically (for example, by video or telephone conferencing)
at the UDC$s discretion.
 {2) You may waive your appearance before the UDC. lf you waive your appearance, the UDC will review
the incident report in your absence.
 {3} lf you escape or are otherwise absent from custody, the UDC will conduct a review in your absence
at the institution where you were last confined.
 The UDC must document its reasons for excluding an inmate from the hearing.

A waiver may be in vuritinS, signed by the inmate, or if the inmate refuses to sign, by a memo indicatlng
the inmate's refusal to appear (Waiver of Appearance {BP-A0307)).

(e) Evidence. You are entitl€d to make a stat€ment and present documentary evidence to the           UDC on
vour own behalf. The   UDC  will consider all evidence presented during its review. The UDC's decision will
be based on at least some facts and, if there is conflicting evidence, on the greater weight of the evidence.
The phrase "some facts" refers to facts indicating the inmate committed the prohibited act. The phrase
"greater weight of the evidence" refers to the strength of the evidence.

(f)  Sanctions. lf you committed a prohibited act(s), the UDC can impose any of the available sanctions
listed in Tables !and2, except loss of good conduct sentence credit, disciplinarysegretation, or monetary
fi n es.




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26
(g) Referral totheDHO- lftheUDCreferstheincidentreporttotheDHOforfurtherreview,theUDCwill
      ycu cf your rights etthe upcomin6, DHO hearing, as detailed in I541.8.
adr.rise
The UDC is prohibiteC from imposing the sanctions oi make monetary restitution or mcnetary fines.

The UDC forwards copies of relevant documents to the DHO with a statement of reasons for the referral,
alcng with reconrmendations fcr sanctions if the DHO finds the inmate has comnritieC the act or ancthcr
p;-ohibited act. The UDC Chair reccrcis {easons fcr the referral and recommendations for oisposiiion in
the "Conrmjiree Action" section of the incident report. Recommendations ar€ contingenl upcn a Dl-1C
finding that the inmate committed the act.

When charges are referred to the DHO, the UDC advises the inmate of the rights afforded at a hearing.
The UDC asks the inmate to chcose a staff representative, if any, and the names of witnesses the inmate
wishes to be called to testify and what testimony they are expected to provide. The UDC advises the
inmate that he/she may waive the right tc be present at the hearing, but still have nitnesses or a s'iaff
representative appear on his/her behalf.
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CHAPTER      5.


S   541.8 Discipline Hearing Officer (DHO) hearing.

The Discipline Hearing Officer (DHO)will only conduct a hearing on the incident
report if referred by the UDC. The DHO$s hearing involves the following:

(a) Available dispositians. The DHO will make one of the following decisions
after a hearing on the incident report:

(1) You committed the prohibited act(s) charged, and/or a similar prohibited
act(s) as described in the incident report;

(2) You did not commit the prohibited act(s) charged; or

(3) The incident report will be referred back for further investigation, review, and
disposition.

(b) Dtscrpline Hearing Officer. The DHO will be an impartial decision maker who
was not a victim, witness, investigator, or otherwise significantly involved in the
incident.

The term Discipline Hearing Officer (DHO) refers to a one-person, independent officer who
conducts hearings and imposes sanctions for incidents of misconduct referred by the UDC. A
DHO may not conduct hearings without receiving specialized training and passing a certification
test. If the institution's assigned DHO is unable to conduct hearings, the Warden arranges for
another DHO, who must be certified.

The DHO may not hear any case not refened by the          UDC. Only the DHO has authority to
impose or suspend sanctions A through E.

(cl Timing. You will receive written notice of the charge(s) against you at least 24
hours before the DHO$s hearing. You may waive this requirement, in which case
the DHO$s hearing can be conducted sooner.

The inmate does not appear before the DHO less than 24 hours before receiving written notice,
unless he/she is to be released from custodv within that time or waives the 24-hour notice
requirement.

(d) SfatrRepresentative. You are entitled to have a staff representative during
the DHO hearing process as follows:




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                                                                                                                                        b.   ,,
                                                                                                                                   -,             t
                                                                                                                                                  I


                                                                                                                             '"i.'*
                                                                                                                            \-leL
(e) Inmate appearance. You are permitted to appear before the DHO during the hearing on the incident
report   as   follows:



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30
(1) You may appear either in person or electronically (for example, by video or telephone conferencing),
at the DHO's discretion.
 l2l Your appearance may be prohibited during DHO deliberations or when your presence would
jeopardize institution security, at the DHO's discretion.
 (3) You may waive your appearance before the DHO. lf you waive your appearance, the DHO hearing
will be conducted in your absence.
 (4) lf you escape or are otherwise absent from custody, the DHO will conduct a hearing in your absence
at the institution where you were last confined.
 Although an inmate may waive the right to be present, he/she may elect to have a staff representative
and witness(es) a ppear.

The DHO must document reason(s) for excluding an inmate from the hearing. An inmate may waive the
right to be present, provided the waiver is documented and reviewed by the DHO. A waiver may be in
writing, signed by the inmate, or if the inmate refuses to sign, by a memo signed by staff and witnessed
by a second staff member indicating the inmate's refusal to appear.

The DHO may conduct a hearing in the absence of an inmate when the inmate waives the right to appear.
lf an inmate escapes or is otherwise absent, the DHO conducts a hearing in the inmate's absence at the
institution in which the inmate was last confined. When an inmate returns to custody following an
absence during which sanctions were imposed bythe DHO, the Warden has the charges reheard before
the DHO, ordinarily within 60 days after the inmate's arrival at the institution to which he/she is
designated after return tc custody, following an appearance before the UDC at that institution.

The UDC ensures that the inmate is aware of ali rights for an appearance before the DHO, including
delivery of charge{si, advisement of the right to remain silent, and other rights exercised before the DHO.
Frccedural recuirements before the DHO apply tc this in'person hearing, except that written statenrents
oi witnesses not readily available may be liberaily used in place of in-person witnesses.

The DHO may affirm the earlier action taken, dismiss the charge{s}, modify the finciing of the original DHO
as to the offense committed, or modify sanctions imposed in the inmate's absence.


Vy'hen an inmate escapes, anC is in local custody rvhere a hearing may be held, an in-person rather'.han
in-absentia hearing may be helci at the DHO's discretion.


{f)Evidence and wltnesses. You are entitled to make a statement and present documentary evidence to
the DHO on your own behalf. The DHO will consider all evidence presented during the hearing. The
DHOSs decision will be based on


P5270.09       7   /8/2077   Federal Regulations are shown in this   type. lmplementing instructions:     this type.
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    hearings without receiving specialized training and passing a certification
                                                                                test. lf the institution,s assigned
    DHo is r.rnable to conduct hearings, the warden arranges for another DHo,
                                                                                  who must be certified.

    The DHO may not hear any case not referred by the UDC. only the DHo
                                                                        has authority to impose or
    suspend sanctions A through            E.


    (c) Timing. You will receive written notice of the charge(s) against you at least
                                                                                      24 hours before the DHOSS
    hearin8. You may waive this requirement, in which case the DHO$s hearing can be
                                                                                           conducted sooner.
    The inmate does not appear before the DHo less than 24 hours before reieiving
                                                                                           written notice, unless
    he/she is to be released from custody within that time or waives the 24-hour notice
                                                                                            requirement.

   (d) staff Representative. You are entitled to have         a staff representative during the DHo hearing process
   as   follows:




   P5270'09        7   /8/2071'    Federal Regulations are shown in this   type. lmplementing instructions:   this type.
   za
   (1) How to 8et a staff representative. You may request the staff representative
                                                                                        of your choice, so long as
   that person was not a victim, witness, investigator, or otherwise significantly involved
                                                                                               in the incident. lf
   your request(s) cannot be fulfilled, and you still want a staff representative,
                                                                                    the warden will appoint one.
   The warden will also appoint a staff representative if it appears you
                                                                            are unable to adequately represent
   yourself before the DHo, for example, if you are illiterate
                                                                   or have difficulty understanding the charges
   against you.
   (2) How the staff representative will help you. prior to the DHOgs hearing,
                                                                               the staff representative will
   be available to help you understand the incident report charges and potential
                                                                                  consequences. The staff
   representative may also assist you by speaking with and scheduling witnesses,
                                                                                      obtaining written
   statements, and otherwise helping ycu prepare evidence for presentation
                                                                           at the DHogs hearing. During
   the DHo9s hearing. you ar€ entitled to have the staff representative appear and assist you
                                                                                                                     in
   understanding the proceedings. The staff representative can aiso assist you in presenting
                                                                                               evidence during
   the DHO's hearing.
    (3) How the staff representative n'lay appear. Your staff representative may appear
                                                                                           either ln person or
   electronicaily {for exarncle. b',,viocc cr ielephone conferencing) at the DHC$s
                                                                                     tiiscrei;icn. rf ycur..staff
   representetive           is no'. availabie for the scheduied hearing, you may either seiect ancther staff
   representative, request the hearing be postponecj for a reasonable amount
                                                                                     cf tinre until vour staff
   represeniative can appear, or proceed without a staff representative.
   The vy'arden provides a f uli-t!rne -ctaif rren.iber to represent an inmate, if
                                                                                   requestec,. lf the requesl cannor
   be fulfilleci, and'ihe inmate still wanis a staff repi'esentative, the warden
                                                                                    wiil appoint one. The executlve
   staff, the DHC or alternate DHC. r'eporting officer, investigating officer, witnesses
                                                                                         to ihe incident, and
   UDC members involved in the case may not be staff representatives. The
                                                                              warden may exclude other staff
   in a particular case or when there is a potential conflict.

  TheDHoarrangesforthepresencecfthestaffrepresentativeselectedbytheinmate.                       lfthestaffmember
  declines or is unavailable, the inmate can select another representative, wait
                                                                                  a reasonable period for the
  staff member's return, or proceed without a representative. The DHo affords a
                                                                                         staff representatrve
  adequate time to speak with the inmate and interview witnesses. While it is expected
                                                                                         that a staff member
  will have ample time to prepare before the hearing, delays to allow additional preparation
                                                                                              may be ordered
  by the DHo.
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                                                                          22. Date And Tine lnvestigatiorr    Began
                Part IrI - In'\resti-gation                                 9/29/20 at 5:48 PM
23. Offender Advised OJ Right To Rernain Silent: You Are Advised Of Your Right To Fetnain Silent At AIl Stages
Of The Disciplinary Process But Are lnfo:med Tllat You! Silence !{ay Be Used To Dra$ }n Adverse Inference
Agairlst You At Any Stage Of The Instituti-onal Disciplinary Process- You Are Afso Inforned that Your Sil-ence
Alone }by Not Be Used To Support A Finding that You Have Cqondtted A Protribited ect.
The offender &las Advised          of   The Above FJght By -Rvan Korhonen       At (Date/tire) - 11/191@-g!-ll!Q.[      Alq



24- Offender Statement And Attitrde

On 11/19/20     this writer conducted tbe investigation on l!r. Geraci, at volunteers of America, Rosevifle,                      I'lN       via
phone.   He uas asked about    his alleged violation of code *101 Assaultiag ary persor.
Mr- C,eraci pled not guilty ard gave tbe follor'iag statetr€nt: '1 got threatened by dude. Il€ thleat€ned hE so I
cagre and responded to getting in a fight- I yas in a fight, not an assault. H€ struck trith closed fists back.
This is way beyond 24 hours-"

25- Other Fasts About tbe Tncid€nt, Stat€m€nt6 Of Those Persons Present At Sc€ne, Disposition Of Evidsrce'
Etc.
Mr. Gelaci walked q> to anotber resident r*ro ras sittiJtg donn at the dining rodu table.                     Some   rcrds nele
exchanged and l{r. Geraci eventual,ly started throring trrrnches.

Based on   the infornation above, Mr. Gerac! 1s charged sith Code +101 - Assaulting any person

26. Investigator's Ccm[ents And @ncluslon
Mr- Geraci clearly HaE aware of the BOP and RRC rules and requirerents. His actions of assaulting anotber                                .

person clearly supporL a findiog of qruilty of code t10l Assaulting any person.


27   - Action   Taken

Recqrmend   disallow available good conduct time.

                 Time firves Li gat ion Csrp]-ete d       _   11/ I   9I3L--g9.9-EE-
                lilrc,/eignaeurc        Of Irvoctigrtor

                                                                              Field Verification Tech4iclan

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                                                               Part ll   -   Committee A,ction


  17. Comments of Inmate to Committee Regarding Above lncident:
  18. A. lt is the finding of the commiftee that you:                           B'      The committee is refening the charge(s) to the DHo for further Hearino.
                 Committed the Prohibited Acl as charged:                       c.   X   The committee advised the inmate of its finding and of the right Did noi
                Commit a Prohibited Ac1.                                             to file an appeal within 20 calendar days
                  Commifted Prohibited Act Code (s). 102



        Ittg ClC   reviewed the rights with the inmate during the CDC hearing. The inmate confirmed receipt of rights form and
                                                                                                                               an understanding of the
        rights. The inmate also confirmed that a staff repreientative or witneis were not requested.

        The CDC reviewed the evidence and found there is some evidence to suppori the charge based on the following:

        The incidenl report states, "On 9/30/20 at 0017, Mr. Geraci 16492-041 walked past the control center with his backpack
                                                                                                                               and one trash bag out the
        front door past staff. As of 0807, the writing of this lR, Mr. Geraci has yet to return to VOARRC.

        Based on lhe information above, Mr. Geraci is charged with code 102, specifically escape (over 4 hours)

        During the investigation, the inmate pled guitty and gave the following statement: 'When did the
                                                                                                         US Attorney's Office decline prosecution? lf so this
        is untimely."

        During the.CDC hearing the inmate pled guil$ and made the following slatemenl: "l was stressed
                                                                                                       out, I got into that tight and panick€d becaus€         l
        was not going to be able to go on home confinement anymore. I did leave and I am not going deny thaf .-

        BOPA/OARRC rules and regulations- pages: 23&24- Residents must have explicit permission from staff
                                                                                                           on duty to leave
        the VOARRC.

        Federal Acknowledgement of rules form - signed by Mr. Geraci--- indicating he received a copy of and understood
                                                                                                                        said rules and regulations
        regarding accountability requirements.



  20. Committee action andlor recommendation if refened to DHO (Contingent upon DHO finding inmate committed prohibited act):
        Disallow available good conduct time.


  21. Date and Time    of Action:                              UDC chairman=s signature certifies who sat on the UDC and that the completed report
        accurately reflects the UDC

             fq"(u
                                                          MemDer(ryped Name):                               W




 INSTRUCTIONS: All iGms outside of heavy rule are for staff use only. Begin entries with the number 1 and work           up. Entiles not compteted will   be
voided by staff.
Distribute: Original€entral File Record; COPY-I-DHO: COPY-2-lnmate after UDC Action; COpy 3-tnmate within 24 hours of part I preDaraton


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D. Make monetary restitution.

E. Monetary fine.

F. Loss of privileges (e.9., visiting, telephone, commissary, movies, recreation).
G. Change housing (quarters).

H. Remove from program and/or group activity.

L    Loss ofjob.

J. lmpound inmate's personal            property.

K. Gonfiscate contraband.

L.   Restrict to quarters.

M. Extra duty.

HIGH SEVERITY LEVEL PROHIBITED ACTS

200     Escape from a work detail, non-secure institution, or other non-secure
        confinement, including comm unity confinement, with subsequent vol untary
        return to Bureau of Prisons custody within four hours.

2O1     Fighting with another person.

202     (Not to be used).

203     Threatening another with bodily harm or any other offense.

204     Extortion; blackmail; protection; demanding or receiving money or
        anything of value in return for protection against others, to avoid bodily
        harm, or under threat of informing.

205 Engaging in sexual acts.
206 Making sexual proposals or threats to another.
207    Wearing a disguise or a mask.



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2Og    Possession of any unauthorized locking device, or lock pick, or tampering
       with or blocking any lock device (includes keys), or destroying, altering,
       interfering with, improperly using, or damaging any security device,
       mechanism, or procedure.

209 Adulteration of any food or drink.
210 (Not to be used).
211 Possessing            any officer's or staff clothing.

2'12   Engaging in or encouraging a group demonstration.

213    Encouraging others to refuse to work, or to participate in a work stoppage.

2'14   (Not to be used).

215    (Not to be used).

216 Giving       or offering an official or staff member a bribe, or anything of value.

217 Giving    money to, or receiving money from, any person for the purpose of
       introducing contraband or any other illegal or prohibited purpose.

218    Destroying, altering, or damaging government property, or the property of
       another person, having a value in excess of $100.00, or destroVing,
       altering, damaging life-safety devices (e.9., fire alarm) regardless of
       financial value.

219 Stealing;  theft (including data obtained through the unauthorized use of a
       communications device, or through unauthorized access to disks, tapes, or
       computer printouts or other automated equipment on which data is stored).

2ZO Demonstrating, practicing, or using martial arts, boxing (except for use of a
       punching bag), wrestling, or other forms of physical encounter, or military
       exercises or drill (except for drill authorized by staff).

221    Being in an unauthorized area with a person of the opposite sex without
       staff permission.

222    (Not to be used).

223 (Not to be used).

p5270.0g   7l}l20t1   Federal Regulations are shown in this   type.   Implementing instructions: this   type'   48
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  cENTER DtsctpuxE coMMtrrEE ieponr (nnc)                               U.S. DEPARTMENT                        OF JUSTICE
                                                                                             FEDERAL BUREAU OF PRISONS




 CODE & SUMMARYOF CODE:




 A. Advance written notice of the                  of the incident report) was given to

 B. The  CDC Hearine was held on
    Tlr,e,inTatg was advised of his rigtrts Ueto
Staff
=C,    Membe/s Name: Josue G. Cruz
 II.   STAFF REPRESENTATIVE


Staff                 Name: Brenda Mort

   Requested staff representative declined or cou
   rring to obtain another staff rlpresentative with the result that:
During the investigation, the inmate was offered
                                                ploc::s wa:-not violated. rhe inmate rerused both orthose options
I?l;ll9*i9"f1"":lP             "j:"*
insisted that staff gets ahold of      lh:,-dl"
                                  Brenda Mort to be his staff representative. staff informed
                                                                                                                  and
                                                                                             Mr. Geraci that was not an
option and that hls staff representative had to be Renville county staff or VOA-RRC
                                                                                    staff.

III. PRESENTATION OF EVIDENCE
A.lnmatehasbeenadvisedofhisrighttopresentastatement,
written statements of unavailable witnesses, and for relevant and material witnesses to appear
                                                                                               on his behalf at the cDC




Duringtheinvestigation,theinmatep|edguiltyand
decline prosecution? lf so this is untimely."

 During the CDC hearing the inmate pled guilty and made the following statement:
                                                                                 "l was stressed out, I got into that
fight and panicked because I was not going to be able to go on home confinement
                                                                                 anymore- | did leave and I am not




                 witnesses appeared at the CDC




                                 uested were not called for the foilowing reajons
             CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 28 of 58
               CASE 0:20-cv-02661--PAM-ECW Doc.                  7-7   Filed 0LlO6l21 Page 2 oI 3

+. fne toilowing witness(es) were unavailable and submitted writte!! {q!9rne4s.--[ fgs:                 No:   I   lN/A:l       X

Name:                                                                Reeister # or Title
Statement:
Name:   I
                                                                     Reeister # or Title
(fatement'
                                                                    l Register * or ntte            I


Statement
D. Documentary Evidence
ln add1ion to the incident report and investigation, the CDC considered the followin8documents:
                                        irelistedinsectionYofthisreport'             , inmate. ,,,Yes: ,           ,       ,,,X
                                               y   l6s 6DC and was not provided to the         l       I           l No:   I
@informationwasnotre|easedtotheinmateduetosafetyofindividua|sand/orthesecuritythe
                                                               provided   independent
institutions. The information was deemed reliable by the CDC because several individuals            similar
information and/or an individual provided specific information that corroborated existing evidence'
tv. F'NDN'C   OF THE CDC
                                      eO'
      The followins act was committed:
      No nrohibited act was committed. The incident report was expunged.
v   iPECIFIC EVIDENCE REUED ON SUPPORT FII{DINGS
                                           eduringtheCDChearing.Theinmateconfirmedreceiptoftherightsform
                                                                                          or witnesses were not
and an understanding of the rights. The inmate also confirmed that a staff representative
requested.

                                                                                          (if admitted), or the greater
The CDC reviewed the evidence and found there is some evidence to support the charge(s)
weight of the evidence shows you committed the prohibited act(s) (if denied) based on the following:

                            ,,on9l3}l2}at 0017, Mr. Geraci tilgz-alLwalked past the control center with his backpack
The incident report states,
                                                                                                    yet to return to
and one trash bag out the front door past staff. As of 0807, the writing of this lR, Mr. Geraci has
VOARRC.

                                                                                         (over 4 hours)
Based on the information above, Mr. Geraci is charged with code 102, specifically escape


During the investigation, the inmate pled guilty and gave the following statement "When did the US Attorney's
                                                                                                                      Office
decline prosecution? lf so this is untimely." Staff created incident report on a timely  manner.  RRC staff was  waiting  on
intU om." to be notified of inmate's apprehension      and whether   he was going  to be formally charged   with other
charges, to conduct the investigation and hearing process. Once RRC was notified of inmate's apprehension, staff
proceeded to contact Renville county jail to conduct investigation and hearing process. During the investigation, the
inmate was offered a staff representative that consisted of Renville County Jail staff or VOA-RRC staff (via phone) to
                                                                                                              gets ahold of
ensure that due process was not violated. The inmate refused both of those options and insisted that staff
Brenda Mort to be his staff representative. Staff informed Mr. Geracithat  was   not an option and that his staff
 representative had to Renville county staff or VOA-RRC staff.

  During the CDC hearing the inmate pled guilty and made the following statement: "l was stressed out, I got into that
 fight and panicked because I was not going to be able to go on home confinement anymore. I did leave and I am not
 going deny that". Although the inmate gives a reason for committing the prohibited act, it does not relieve him of his
 actions. The inmate has the responsibility to maintain clear conduct while serving his sentence. The inmate's time in an
 RRC should be used to establish positive decision-making patterns for successful entry into society as a law-abiding
 citizen. The inmate chose to break a rule and the law, showing he needs more time to adjust.

 BOp/VOARRC rules and regulations- pages: 23&24- Residents must have explicit permission from           staffon duty to leave
 thE VOARRC.
                  CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 29 of 58
 cillER
  -          DtSCtpLtNE COMMTTTEE REPORT                                                             U.S. DEPARTMENT OF JUSTICE
     II7                                 {RRC}
                                                                                                  FEDERAI BUREAU OF PRTSONS

 NAME OF INMATE:        MichaelGeraci                                       REGISTER    NUMBER:        I rcqgZ.Oql
 INCIDENT DATE          09-29-2020        INCIDENT REPORT DATE:            09-30-20            HEARING      DATE: I Lt/19/20
 LUUE 6( SUMMAKY (JF CODE:                101                                                  Assaulting any person

 r. NoTtcE oF CHAR6E{S}
 lncident Reporr Delivered   On: I ttltg/Za               DHO Signature:
 A. Advance written nottce of the.charge          tfre n
 Date: 11119/20 lTime: i             r00a  I aylstaff        rn"rn.rffi                                              Ryan Korhonen
 H. rne cDC Hearine was held on {date): | 11/19/20
                                                                                      | rime: rozo
 !.Theinmatewasadvisedorrriiffinrovidedaconvofhi
 Staff Membe/s Name: Josue G. Cruz                                                     Date:1Ut9/2O
 II. )IAFF   KtsPKT5ENTATIVE
 A. Staff Representative   Requested: I yes: f                 X       No: I                  I Waived at   CDC Hearine:
Staff Representative Name: Brenda Mort                                                         N/A

C. Requested staff representatiue decline
hearing to obtain another staff representative with the result that:
L''ul rrrB tlre lnvestlgarlon, tne Inmate was offered a staff representative
                                                                             that consisted of Renville County Jail staff or
VOA-RRC staff (via phone) to ensure that due process was not violated. The inmate
                                                                                          refused both of those options Jld
insisted that staffgets ahold of Brenda Mort to be his staff representative. Staff informed
                                                                                                Mr. Geracithat was not an
option and that his staff representative had to be Renville county staff or VOA-RRC staff.

l|l. rnE)EllilAil(JN {'Jl- EVIUtNCE
A.|nmatehasbeenadvisedofhisrighttopresentastatement,ortoremain'iten
written statements of unavailable witnesses, and for relevant and material witnesses to appear
                                                                                               on his behalf at the            CDC
hearing.
 tnernmate        lRdmits:l           lDenies:        I            X        lsitent:l                       I
                                                                                                         tnecharge{s).
)ummary oT Inmate's Statement:
Duringtheinvestigation,theinmateplednotguiltyandgauetrre-i
threatened me so I came and responded to getting in a fight. I was in a fight, not an assault.
                                                                                               He struck with closed fists
back. This is way beyond 24 hours.

 During the CDC hearing the inmate pled not guilty and made the following statement:
                                                                                         I was threatened by dude, he
:qulg back at me. This makes it a fight not an assault AIso I am being served this incident report in           untimely manner.
           ))95
1. The inmate requested witnesses: I yes:                                                No:                            X
z.   lhe tollowing witnesses appeared at the CDC hearing:
Name:                                                                  Register # or Title
)rarem€ nt:
Name:                                                                  Regist er # or Title
Statement:
Name:                                                                 Register # or Title
)ra{emenl:
3. The f-ollowing witness(es) requested were not called for tfre followine rearo*
Name:                                                                 Register # or Title
Keason:
Name:                                                                  Register # or Title
Reason:
N.r"I                                                                  Register # or Title
Reason;
           CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 30 of 58
  Case: 0:21--cv-00392-NEB-KMM Document #: t-L Date Filed:021L01202L Page 2 of 3
            CASE 0:20-cv-02661-PAM-ECW Doc. 7-11 Filed 0U06/21 Page 2 of 3
 4.f hefollowinEwitness(eslwereunlmilableandsubmittedunatt@                                           No:    I     lN/n:lx
 Name:     I                                                          Register S or Tltle
 StatemenU
 Name:    I                                                          Register # or Title
 Strtement:
 llame:   I                                                          Reeisterf   orTith
 sbtement:
 D. Docrmentary Evldene
 m aooftron to tne ancldent report and arxrestigation, the CDC considcred the followins documents:
 Any documents conideled by the CDC are listed in siction V of thls report.
 E. Gonftdenthl Infurmatlon uas consldered bythe     ceclrd@                                          Yes:   I lNo: I X
 lf yes, the confidential hrformation uras not rebasbd t
 instiMions. The infurmatbn vrns deemed reliable by the CDC because several individuals       prol6ed similar independent
 information and/oran indivUual proftled specific Infurmation     thatcono@ted erlstingevitlenoe.
 rY.   fr|Iuilttrgr tl|lcDC
 x      Ite act was ommltted as drar:ed.
        The bllorll€ act was commltGd:
        No prohibited acturas@fltmitted. The inddent remrt uns arounead-
l&luEgEC       EUtDGitCE REUCD Orr Slrpp{onrFrDtrr6s
 Th€ cDc rwleund the rlgha w|th the Inmate during fte coc hearin& The inma
 and an understanding of th€ righB. The inmate also confirmed that a staff representative or    urritneeses were   not
reqqested.

The CDC reviewed the evidenoe and
                              bund there ls some anldence to support thc drarge{s} (if admitted}, or the greater
we@t of the evkbnce shour pu ommitted the prohibited act(s) {if denied} based on tt e folowlng:

The  frcuem rcport states, 'on9lz9laoat 17 49, Mr. Geraci 16492-001 walked up to
uns sitting down atthe dlnlq room table. Ttrey appear to orchange some u,ordr
later, Mr. Gencl  *.Tjl$IilililIs                                                    "ndffina,
                                                                                            fnittirts;l;
                                                 sftdru at and thiows a totat of 6 punches at
twice in hb left e1rc ant

Based on the   inbtmadoo above, Me 6sad b drarged wlth ode 101, specffically assauhlry arry peneon

Durlng the In€stEatlon, theJnmate pled not gullty ard gave the bfiowlng statement "l got threatened by drde.
                                                                                                                     He
threatened me so I came ald responded o getdnS in a fight. I uns ln a figtrt, not an assa,lr th struck with dosed
                                                                                                                     ftsts
bad( Thb ls nny lreyond 24 hours. Althotgh the Inmate clalms to have been prorroled, it does not relleve him from his
responslbility of maintainirg a dear oordwt whlh residing at the RRC Statr proceeded to pull up camera
                                                                                                             footage of the
ftrcident, nrhere it was ldentified that Mr. Geraci uns the agressor. Mr. Geraci vyalked up io the
                                                                                                   ottrer resUentiho was
sittiq down at a dinhg room table and statted thrcwilrg prnches at him. Mr. Geraci was clcarly aware of the BOp
                                                                                                                      and
RRC rules and regulatbns. His actioru of assaulting amther resident a not acceptable
                                                                                          by VOA-RRC D|rlrE ilre
investigatio4 the inmate rras oftrcd a staff representaJv.e that consbted of Rerwllh County Jall staff or voA-RRc
                                                                                                                      atlff
(vla phonel to ensure that due process was not vhlae,i;ttr" mmate rcfused both
                                                                                    of tlrose optixrs and insisted that staff
gets ahoH of Brenda Mort to be hls staff representative- staff infiormed Mr.
                                                                              @nci that was not an optbn and that his
staffrepresentatlve had to Renvilh county stafforVoA-RgC staff.

 tbrirg the @c hearing the Inmatg pled not guitty.,rd ;.d";* rfl,J*,,* *temenr I uni threatened by
                                                                                                             dude, he
stury back at me. This makes it a fight not an assaulq Abg I am belrg sewed this incident report In untimely manner.
Claiming that the incldent report is oot beiq pre6ented to hilh on a iimbty manner does notoonstltute
                                                                                                        In a defense.
                                           manner, resldent *ip"o'foni ilte facnity hous after the Incldent happened.
Staffcreated incident report on a tltnely-be
RRC staff rms mftinion RRM office to         notified of inmate's ippr"rr*tlon to oonduct the investlgatbn and hearing
prooess. Once RRC was noufied of inmate's apprehercbn, staff proeeded
                                                                              to contact Rerwilb oounty jail to oonduct
anvesti8atbn and hearing ptoaess. The inmate has tbe responsbality to maintain dear onduct wlsle
                                                                                                       servine hls
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Appendix D. DATA ENTRY INSTRUCTIONS

Each Discipline Hearing Officer (DHO) or Unit Discipline Cornmittee (UDC) is responsible for
the validity and accuracy of the data on all cases resolved at their level. It is critical that the data
is reported correctly and uniformly.

Prohibited Acts. Data collection requirements apply only to the following prohibited acts:

# Code 100 - Killing.
# Code 101 - Assaulting any Person (Serious).
# Code 107 * Taking Hostages.
# Code 114 - Sexual Assault by Force.
# Code 203 - Threatening Another with Bodily Harm.
# Code 2A5 - Engaging in Sexual Acts.
# Code 206 - Making Sexual Proposals or Threats to Another.
# Code 224 - Assaulting any Person (Less Serious).
# Code 225 - Stalking.
# Code 229 - Sexual Assault without Force.
SENTRY Screens. When an inmate is found to have committed one or more of the prohibited
acts listed above, the DHO or UDC enters data on the followins SENTRY screens:

#   Add Hearings/Findings or Update Status After Procedural Hearing.
#   Update Hearing/Findings or ExecuteAJnexecute Sanctions.

Because data collection is not required at the charging or accusatory levels, there are no
additional requirements for the Update Charges screen.

Data Keying Requirements. Four characters are available to enter data on a particular act; the
fourth is always used for aiding and abetting or attempts (for example, code 101A).

For the prohibited acts specified above, SENTRY allows three additional characters (fields) for
DHOs or UDCs to input data:

#   The first field requires data on type of victim.
#   The second requires data on type of weapon used.
#   The third applies to the nature of the injury.

A fourth, separate field records whether the incident was referred for prosecution.

Type of Victim. The DHO and UDC Chairman must select one of three codes that best
identifies the victim's status and enter it in the Additional Tracking ldentifier (ATD field for the
prohibited act (e.g., ATI.: S, ATI.: Q):

P5270'09 7/812011 Federal Regulations are shown in this   type.   Implementing instructions: this   type.   42
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    I'   Inmate
    S' Staff
    O'Other

There can be only one victim for each prohibited act. When there are multiple victims (two or
more inmates, or one staff member and one inmate), there must be multiple prohibited acts
against the inmate. If there are multiple acts for the same code, they must be keyed under
separate incident report numbers even though the finding could be based on a single incident
report.

"Other" is entered when the victim is    a   visitor. contractins staff. U.S. Marshal. etc.

Type of Weapons Classification. DHOs must review the list of weapons codes starting from
the top (code "A") to the bottom (code "N"). Using this rank-ordered review, select the first
code that best describes the most serious weapon the inmate used or attempted to use. The
selection is placed in the second position after the type of victim (e.g. ATI.: S!, ATI.: O[):

    A gun
    B sharp object (used to inflict cutting injury)
    C pointed object (used to inflict stabbing injury)
    D solid\blunt object (thrown or used to hit)
    E toxic or flammable fluids or substances
    F fists\hands
    G    feet\legs
    H    bodily fluids\waste (spit, urine, feces, blood, etc.)
    J    teeth
    K    head
    L    water
    M other or unknown
   N     no weapon

"Weapons" refers to objects, instruments, or substances listed above that the inmate controlled at
the time of the offense. and are considered an element of the offense.

When an inmate threatens to use a weapon that was not readily available or under his or her
control at the time of the incident, select code 'N", "no weapon."

Nature of Injury Assessment. The level of injury is best assessed by considering the medical
treatment required, if any. Choose the injury code that best describes the most serious injury
suffered. The choice is placed in the third position after type of weapon (e.g., ATI.: SB4, ATL:
oF!):

    1 No injury - The victim or medical staff reported no injuries.

P5270.09 71812011 Federal Regulations are shown in this   type.   Implementing instructions: this   type.   43
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         CASE O:20-cv-02661--PAM-ECW Doc.                  7-l-   Filed 01i06/21 Page 44 of                  56 #



      2 Minor injury      - The victim received minor injuries that may have been treated at the
      facility, or treated at the facility with a possible recommendation for a non-inmate victim to
      consult with his/her physician.

     3 Moderate injury - The victim received more serious injuries that generally require
     treatment at an outside hospital, or, in the case of non-inmate victims, treatment by their own
     physicians. Moderate injuries are not judged life-threatening.

     4 Major injury  - The victim received injuries that are life-threatening, requiring emergency
     medical treatment at an outside hospital.

     5 Fatal injury      - The victim received injuries resulting in loss of life.

Example One: ATI.: SB4 - "Staff-S" victim, with the weapon being a "sharp object-!", and
"maj or inj uries-!" sustained.

Example Two: ATI.: OFl           - "Other-Q" victim with the weapon being "fists/hands-F",                   and "no
injury-!"   sustained.

Referrals for Prosecution (RFP). For this system to provide accurate data, it is imperative that
Special Investigative Supervisors (SIS) and Special lnvestigative Agents (SIA) refer assaults for
prosecution and record the data in section 25 of the incident report. This is a separate field; the
DHO keys either accepted or declined for prosecution by the Assistant U.S. Attorney in the
screens for:

#   Add Hearings/Findings.
#   Update Status After Procedural Hearing.
#   Update Hearing/Findings.
#   ExecuteAjnexecute Sanctions.

The SIS or SIA documents this under "Other Facts" in section 25 of the incident report (e.g.,
RFP.: A for accepted or RFP.: D for declined).




P5270.09 718/2011 Federal Regulations are shown in this    type.   Implementing instructions: this   type.   44
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i ca.i, o,zo.lvroeost-ro* ilwl     l'           #: 11.0 ' D"," ritfo:rouoialiozi'          of
                                      "orurnent                                   "p-"g*'+
s9                                                     positive
       :ence-The inmate's.time in an RRC should:be used to^Establlsh       patterns for
                                                                               decision-rnaking          successful entry
into society   as a law-ibiding citizen. The inmate chose to break a rute and the law showing he needs more time to
adjust.

BOP/VOARRC rules and rqgulations, page 30- Formal Disciplinary Procedures: In the event a resident becomes involved
in some- form of ,prohibited act, he or she may be placed in secure custody until a hearing can be held and a decision
reached as to the,disposition of the case. Whether or not a resident is removed from the VOARRC, the following
procedureq will be as fellowed".


FederatAcknowfedgement of rules form - signed by Mr. Geraci- indicating he received a copy of and understood said
rules and
VI. SANCNON RECOMMENDATION BVCDC
The CDC recommends apprqpriate loss of Good Conduct Time.

vlr.    REASoN FoRSANCilON(SI ORACflON TAKEN
@dto.encouragetheinmatetomakebetterchoices,maintainc|earconductandto
ensure that he understands the seriousness of his actions.
VIII.   APPEALRIGHTS
The inmate has b,een advised of the CDC findings, specific evidence relied on, action and reasons for the action. The
inmate has been advised of his right to appeal this action within 20 calendar days through the Administrative Remedy
Program.

The inmate shogld file his appeal to the Administrative Remedy Coordi                 Central RegionalOffice, Tower ll, 8th
Floor, 400 State Avenue, Kansas City, Kansas 65101.
CDC Staff: I Josue G. Cruz                          sienatuiet     |        \l'\V \                 Date:    LLltglZO
IX. DISCIPUNE HEARING       OFFICER
Disallow Good Conduct Time                                                   VV                   Days:       27

Forfeit Non-Vested Good Conduct Time                                                              Davs:       10

Discipline SegreBation                                                                            Days:
Loss of Privileges Deemed Appropriate by     RRC   Staff                                          Days;
Quarters;Restriction                                                                              Days:
Other:                                                                                            Davs:
Printed Narne                                              Sisnature                                        Date
           J. George                                                   (   )- 4r-o.tn,                        12-30-20

 Defiveredtofnmatebv:       lt 6 tJIl^-^            t1/JU,/.,,,-.- /         ( 6rlDate:     I n-sl -J1)
  There was a delay in processing the incident report; however, the delay did not hinder your ability to make a defense
  to the charge.

  You acknowledged being in a physical altercation with the other individual. The charge was reduced to a Code 224,
  Assault.
                CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 35 of 58
  !'

sei :ence. The inmate's time in an RRC should be used to establish positive decision-making patteins ior srlccessful entry
into society as a law-abiding citizen. The inmate chose to break a rule and the law, showing he needs more time to
adjust.

BOP/VOARRC rules and regulations, page 30- Formal Disciplinary Procedures: ln the event a resident becomes involved
in some form of prohibited act, he or she may be placed in secure custody until a hearing can be held and a decision
reached as to the disposition of the case. Whether or not a resident is removed from the VOARRC, the following
procedures will be as followed".


Federal Acknowledgement of rules form - signed by Mr. Geraci- indicating he received a copy of and understood said
rules and regulations       ing accountabi                 ents.
VI. SANCTION RECOMMENDATION BY CDC
The CDC recommends appropriate loss of Good Conduct Time.

VII. REASON FOR SANCTION ORACTION TAKEN
The sanctions were recommended to encourage the inmate to make better choices, maintain clear conduct and to
ensure that he understands the seriousness of his actions.

The inmate has been advised of the CDC findings, specific evidence relied on, action anO reasoni f;r the action The
inmate has been advised of his right to appeal this action within 20 calendar      through the Administrative Remedy
Program.

The inmate should file his appeal to the Administrative Remedy Coordi           rth Central RegionalOffice, Tower ll,8th
Floor, 400 State Avenue, Kansas City, Kansas 56L0L.

IX.    DISCIPLINE HEARING OFFICER
Disallow Good Conduct Time
Forfeit Non-Vested Good Conduct Time

Loss of Privileges Deemed           ate bv   RRC   Staff
Quarters Restriction
Other:



Delivered to lnmate

 There was a delay in processing the incident report; however, the delay did not hinder your ability to make a defense
 to the charge.

 You acknowledged being in a physical altercation with the other individual. The charge was reduced to        a Code 224,
 Assault.
                  CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 36 of 58


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                             **        Av^rerkcgo- wl^e^iJ i{?
           JRs."i'-.* t'F       ,o*&J.

Michael,


Ali I can tell you is that on12102/20 an attempt was made to print a check from your account and fbr some reason
                                                                                                                     the
check was either no clear or the routine number was printed in an area it is not supposed
                                                                                          to be printed. Frankly, I don,t
remember the exact reason other than I was asked to reprint the check. I did that
                                                                                       a couple of days later and sealed the
check in the envelope and mailed it. I honestly cannot remember the day I did that,
                                                                                          bui there still would be no reason it
has not been delivered to the court. was printed from your account in
                                                                          the amount of $5.00. I have attached both your
account running balance and a screen showing the infbrmation that was entered to print
                                                                                               on the check. If you want to
check daily if it is there, we will pay for the call(s). There is no reason I can think
                                                                                        of why it would not be there. I have
no way tn track a piece of mail once it is in the outgoing mailbox. I would appreciate
                                                                                            it if when you call it has been
delivered, please let me know.

Ned \L'Phlman, JA
ncsr/1
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Case: 0:2 1-cv-00541-WMW-DTS Document #:3.-L Date Filed: AXXXXXXXX- Page 3 of
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                                    PETITIONFORAWRIT OFHABEAS CORPUS UNDER2S U.S.C. 52241
                                                                             Personal Information

1.            (a) Your full             name:
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              (b) Address:

              (c) Your identification number:
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      CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 41 of 58
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                                                U.S. Department of Justice

                                                United States Attorney
                                                District of Minnesota
                                                600 United States Courthouse   Telephone:   (61   2) 664-5600
                                                300 South Fourth Street             Fax: (612) 664-5787
                                                Minneapolis, MN 55415


                                                December 30,2020

The Honorable Elizabeth Cowan Wright
United States Magistrate Judge
316 N. Robert Street, Suite 646
St. Paul, MN 55101

      RE: Michael Romeo Geraci v. Ned Wohlman
             Civil No. 20^2661 (PAMIECW)

Magistrate Judge Wright:

       Petitioner named a non-federal Respondent as the lone Respondent in the above-
captioned matter. The United States does not represent this Respondent, but wishes to
respond to the substance of the habeas Petition at issue. We would therefore respectfully
request that the United States be added as a Respondent in this matter.



                                               ERICA H. MacDONALD
                                               United States Attorney

                                                s/ Chad    A. Blumenfield

                                               BY: CHAD A. BLUMENFIELD
                                               Assistant U.S. Attomey
                                               Attorney ID Number 387296
                                                Chad.B lumenfield@usdoj. eov



cc:          Petitioner Michael Romeo Geraci
             Reg. No. 16492-041
             Reville County Jail
             I04 4th Street
             Olivia, MN 56277
        CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 42 of 58
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

       MICHAEL ROMEO GERACI,                           Case   No. 20-CV-2661 (PAM/ECW)

                            Petitioner,

       v.                                                             ORDER

       NED \r,/OHLIvIAN,

                            Respondent.




            This case is before the Court on Petitioner Michael Romeo Geraci's ("Petitioner")

   Petition for a Writ of Habeas Corpus (Dkt. l), Petitioner's Emergency Motion for

   Expedited Proceedings (Dkt. 2), anda letter filed by the United States of America asking

   to be added as a Respondent in this matter because it wishes to respond to the substance

   of the Petition (Dkt. 3).t Based on the files, records, and proceedings herein, IT IS

   ORI}ERED THAT:

            l.         Cler.k of Court is directed to add the United States of America as a

                   Respondent in this matter,

            Z.     Respondents are directed to file an answer to the Petition for a   Writ of

                   Habeas Corpus   within 7 days of this Order's date, certi$ing the trlre cause




   I     The United States of America states that Petitioner named a non-federal
   Respondent as the lone Respondent, who is not represented by the United States. (Dkt.
   3.)
         CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 43 of 58
Case : 0 :21,-cv-00541-WMW-DTS  Document #: L-L Date Filed: Q212412021 Page 9 of
Case: 0: 20-cv'0266L-PAM-ECW   Documentl84-0 Date Filed: L2l3Ol2O2A Page 2 of 2



             and proper duration of Petitioner's confinement and showing cause why the

              writ should not be granted in this   case.


        ^     Respondents' answer should include:

              a.     Such affidavits and exhibits as are needed to establish the lawfulness

                     and correct duration of Petitioner's incarceration, in light of the

                     issues raised in the Petition;

              b.     A reasoned memorandum of law and fact fully stating Respondents'

                     legal position on Petitioner's claims; and

              c.     Respondents' recommendation on whether an evidentiary hearing

                     should be conducted in this matter.

        4.    If Petitioner intends to file   a reply to Respondents' answeE he must do so


              within 7 days of the date when the answer is filed. Thereafter, no funher

              submissions from either party will be permitted" except as authorized by

              Court order.

        5.     Petitioner's Emergency Motion forExpedited Proceedings (Dkt- 2) is

               GRANTEI) to the extent that this Court has imposed the deadlines set

               above, and is otherwise DENIBD.




     Dated: December 30, 2020                         s/Eliz abeth C ow an Wr i ght
                                                      ELIZABETH COWAN WRIGHT
                                                      United States Magistrate Judge
        CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 44 of 58
Case: 0:21--cv-00392-NEB-KMMDocument #: L-3 Date Filed: 02lLOl2O21, Page 3- of L




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                     CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 45 of 58
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          CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 46 of 58
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                       Petitioner.

                                                                    ORNER

   I{ED V./OHL\4AN.

                       Respondent.




       rT IS HEREBY ORDERED THAT:

        1.    Respondent is directed to file an answer to the petition for a writ of habeas

              corpus of Petitioner Michael Geraci, within 10 days of the date of this

              Order, certifying the true cause and proper duration of Petitioner's

              confinement and showing cause why the writ should not be granted in this

              case.


        2.    Respondent's answer must include:

              a.      Such affidavits and exhibits as are needed to establish the lawfulness

                      and correct duration of Petitioner's incarcsration, in lieht of the

                      issues raised in the petition;

              b.      A reasoned memorandum of law and fact fully stating Respondent's

                      legal position on Petitioner's claims (including whether some or ail

                      of the petition is moot); and
       CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 47 of 58
Case: 0:21-cv-00392-NEB-HB Docunrerri #: 5-0               Date filed:     C3i0l"/2021 Faqe 2 of 2



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                   should be conducted in this matter.

            lf Fetiticner   intends to file are1tl;' to Respondent's atlsti,,er'. he must cic so

            rvithin i0 days of the date rvhen lire      ansriver is   filed.   Therea{1er. no furlher

            submissions fiom either partv      will   be pelmitted. except as authorized        b1z



            Ccufi order.

      4.    Petitioner's Appiication to Proceed in District Court Witliout Prepaying

            Fees or Costs IECF No.       2] is GRANTES.




  Dated: March 1,2021                              s/Hildv Bowbeer
                                                   Hildy Bowbeer
                                                   United States Magistrate Judge
      CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 48 of 58
        CASE 0:21-cv-00392-NEB-HB Doc. 7 Filed 03/05/21- Paqe 1of l-




                         TINITED STATE,S DISTRICT COURT
                             DISTzuCT OF MINNESOTA
                             Civ. No. 2 1-cv-00392-NEB-HB


 Michael Romeo Geraci.

                     Petitioner.
                                                    NOTICE OF APPEARANCE


 Ned Wohlman,

                     Respondent.




       PLEASE TAKE NOTICE that Chad A. Blumenfield. Assistant United States

Attorney, hereby notes his appearance as counsel for the respondent with respect to the

above-referenced matter. This appearance does not waive any defense or service as

required by the Federal Rules of Civil Procedure.




Dated: March 5,2027
                                                W. ANDERS FOLK
                                                Acting United States Attomey

                                                s/ Chad   A. Blumenfield

                                                BY: CFIAD A. BLUMENFIELD
                                                Assistant U.S. Attorney
                                                Attorney ID Number 387296
                                                600 United States Courthouse
                                                300 South Fourth Street
                                                Minneapolis, MN 55415
                                                Phone: 612-664-5600
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                   CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 49 of 58




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                                           Official lnmate Grievance Initial Review Response          ffi   InformationalOnly

                                                                                                      f,    Found In Favor of lnmate
To: (lnmate)      Michael GERACI
                                                                                                      I     Denied

The   following   is a summary   of my findings regarding your grievance:


 Michael,

 I think you know this is really a BOP issue, but I can tell you that ifyou are picked up on the federal warrant only,
 meaning no other local charges, you would get credit for that time because you were sitting only on the federal
 warrant. lf there were any local charges, the time would not count for the feds.

 My question to you is if you had any hearings at the VOA, either by phone or in person? The only hearing you would
 not attend is the final DHO determination, but that decision is subject to appeal. lf I were going to conjecture what the
 number of days are from, I would say 7 days of the new out date are from simply moving the out date back 7 days as
 you would need to serve those days. I can only assume the balance of the days was due to the actual sanction for the
 escape.

 lf I had a computation sheet or a DHO sheet I could confirm this or at least find out the reasoning for the # of days. I
 know this doesn't give you much information, but I would suggest using the Administrative Appeal process to the
 region.


 Sincerely,




 Ned Wohlman,JA
 RCSO




Ned Wohlman                                                                                 12/7/20
Print Name of Grievance Officer                                                            Date                      Attachment     B


                                                                                                                       02/04/2020
                            CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 51 of 58

                                                           Renville County Jail
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                                                              which staff members you have spoken to'
                In box B list any actions you and taken to resolve the issue and state




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  Your grievance has been received and will be processed'


          /,            ^
                                                                                                                                   Attachment A
                          =
   Siqnature of Grievance Loorcllnator

   Revi5ed   lO/01/14 J:VAIL MAIN\lnmate FcrmS\GRIEVANCE
              CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 52 of 58
       Case:O.21-cv-0054]..WMW-o''WDateFiled.O2|24|2O2L
                CASE0:12-cr-00134-DSD-JJG Doc. 120 FtledAu2tlzL Page 3 of 6
               * FC*V tvry <o {\(aJSa,ao,J<(ah'*tJ€

         COVID-19    at the VOA, which posed an unacceptable risk to his
         health. The court again denie,J the motion.
               Geraci now moves a fourth time for compassionate release.            He

         contends that his current pl.rce of confinement is overrun with
         COVID and   that 28 of the 39 inmates have tested positive for the
         virus.    He requested release from the warden of the facility             on

         December   1, 2020. According to Geraci, the warden denied the
         request because he did not believe he had the authority to grant
         such relief.   Geraci now states that in addition to suffering from
         asthma, he al-so is "now being monit,ored for hypertension or high
         blood pressure."     ECF   No- 11' at ^-3.      He also moved for the
         appointment of counseL to assist him with his motion. Contrary to
             Geraci's assertion, as df )ecember 2?,2020' no inmates in the rt
             Renville County,Jail were COyID-1.9 positive. ECF No' t L9. at 2. *<
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       I           rhe First step Acts errlows for a reduJtion in sentence or              lW
         compassionate release w!nere '*extraordinary and compelling                      {;i1
                                                                                          ::'.';:;"
         circumstances warrant such a              reducgion.   "     18      U's   'c'
         s3582(c)(1)(A)(i).Beforugadefendantmayseeksuchrelieffrom
         a district court, howeve ft, he must have "fully exhausted aII
         administrative rights to a;ppeal a failure of the Bureau of Prisons
         to bring a motion on the defendant's beharf or [30 days must have
         elapsedJ from the receipt : of such a request by the warden of the




                            NW,/i!;!
                CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 53 of 58
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                                                                                                      Page L2
       case:0:20-cv-02661-PAM-ECW DocumehS#;20-2 Date Filed: oao2l202L
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                                      RenvilleCountYlail
                                    Supplemental RePort Form

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                    CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 54 of 58
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  GERACI, MICHAEL                  Beginning. Balance
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             Softee Mango Butter Hair Dress                   $4.57
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'1ffffi;l"'|cHAEL                                                       Canteen Order
       y'l    Nestle Hot Chocolate (Single Serving)
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       .4-.....ffiMistZero-1
            _       _-__-.
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      CANTEEN                              Canteen Total:       $8.70
      RECEIPT                             Ending Balance:      $36.73
                              CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 55 of 58


     Ned Wohlman

    From:                                          JailGrievance Mailbox
    Sent:                                          Sunday, February 28,2021 7:14 PM
    To:                                            Ned Wohlman
    Subject:                                       FW: Inmate Request: Official Inmate Grievance




    From: Michael Romeo Geraci [mailto:request+590567 _25c9577!-cd69-4a4b-a703-
    bc5b3db2295d @ inmates.reliancetelephone.coml
    Sent: Sunday, February 28,2O2L 6:49 PM
    To:   Ja   il   G   rieva nce Ma ilbox <ja ilgrieva nce @ renvil lecountym n.com>
    Subject: Inmate Request: Official Inmate Grievance


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:  WARNING: This message originated from outside Renville County. Use caution when cticking hyperlinks or
!opening aftachments.



    Michael Romeo Geraci 153321at Wireless
    Request Type: Official Inmate Grievance
    Request Time: 0212812021 06:48:35 PM

    State your grievance in a brief, clear and understandable manner.                   If vulgar language is used the grievance will
    be rejected.

    requestText

    To Ned Wohlman
    Re: Staff Misconduct

    I'd like to speak with you tomorrow at your earliest convienance about a certain staff member that has been
    involved in misconduct and commitong Federal offenses and is now threatening my person with harm and my
    liberty.




List any actions below that you have taken to resolve the issue. State which staff members you have spoken to.

actionTaken

I can't speak privately hear i have tried to mind my business but your staff members just seem to want to harrass
me to death
                    CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 56 of 58


     Ned Wohlman

    From:                                 Jail Kites Reliance Mailbox
    Sent:                                 Tuesday, March 2,2021 8:56 AM
    To:                                   Ned Wohlman
    Subject:                              FW: Inmate Request: General Request(Kite)




    From : M ich ae I Romeo G e ra ci < req u est+5 9 2033_447 297 cf -9257 -487 a-a3d2-
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    Sent: Tuesday, March 2,202L 7:L8 AM
    To: iail Kites Reliance Mailbox <ja il kites@renvillecountym n.com>
    Subject: Inmate Request: General Request(Kite)


:RETWIIJIJE COT'NTTY SECURTTY NOTICE:
: WARNING: This message originated from outside Renville County. Use caution when clicking hyperlinks or
;opening aftachments.


    Michael Romeo Geraci 153321at Wireless
    Request Type: General Request(Kite)
    Request Time: 03/0212021 07:17:44 ltM

    Be Specific:

    requestText

    To Ned Wohlman,Jail Admin
    Re: previous ignored request

    Sir, I have requested that you please provide me with copies of my selected grievanceslkites to you to be printed
    and provided to me also for security purposes I request that you block any personal otherthan Melissa Swyter or
higher Authority from reading inmate grievances especially mine.... so to simplifu this just print me two copies
of every grievancelkite since sunday i have sent you including this one please sir

I have also had officer Marion forward my request I sent to Melissa to prepare a IFP affidavit for me. The last
one she did and I sent out mysteriously has not yet reached the court in over 2 weeks so I'll file another and I am
asking you to do this I have pending deadlines and since you have something to do with the checks and trust
fund you can type me up this form and provide it correct please and thank you.
                CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 57 of 58


 Ned Wohlman

 From:                             Jail Kites Reliance Mailbox
 Sent:                             Monday, March 1,2021 6:28 PM
 To:                               Ned Wohlman
 Subject:                          FW: Inmate Request: General Request(Kite)




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                             I


Sent: Monday, March L,2O2L 2:10 PM
To: Jail Kites Relia nce Ma ilbox <jailkites@renvillecountym n.com>
Subject: Inmate Request: General Request(Kite)


RETWILLE COT'MTY SECURITY NOTICE:
  WARNING: This message originated from outside Renville Gounty. Use caution when clicking hyperlinks or
opening attachments.



Michael Romeo Geraci 153321at Wireless
Request Type: General Request(Kite)
Request Time: 03 l0l 12021 02:09 :46 PM

Be Specific:

requestText

To: Ned Wohlman,Jail Admin.
Re: response to grievances

Listen you are misinterpreting both... Speaking to you further will just complicate the matter. I am asking that
you please print a copy of each for me and provide a copy to be sent as legal mail
I to my probation officer
I to the FBI office in brookly park

I am well aware that staff read my text messages that wasnt the issue what i said was your staff member read
my messages and remembered my story about the VOA on the front page of the pioneer press so i dont care that
my messages are monitored but when your staff threaten me with harm I am supposed to "lock my self into my
cell" great advice jail adminstrator please seal my last 2 grievances from being read by any other jail staff please
too.. I understand Mondays are busy days but routine details sometimes need to be sidetracked when an inmate
is telling you he is being threatened by staff that is introducing contraband to others in your jail among other
federal crimes. So please just print me copies of these past three messages and provid e me 2 envelopes for legal
mail purposes. Thank you
                               CASE 0:21-cv-00716-WMW-DTS Doc. 1-1 Filed 03/16/21 Page 58 of 58


    Ned Wohlman

    From:                                                   Jail Grievance Mailbox
    Sent:                                                   Wednesday, March 3,2021 8:23 AM
    To:                                                     Ned Wohlman
    Subject:                                                FW: Inmate Request:Official Inmate Grievance




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    5998cac006d9@inmates.reliancetelephone.com>
    Sent: Monday, March L,20219:56 AM
    To:   Ja   il   G   rieva nce M a ilbox <ja i lgrieva nce @ renvil leco untym n.com>
    Subject: lnmate Request: Official Inmate Grievance


: NUTWTT,T,E  COUNTY SECURITY NOTICE: vr 4vg .

!     mnHfNG: This message originated from outside Renville County.                                  Use caution when clicking hyperlinks   or
;opening attachments.


Michael Romeo Geraci [5332] at Wireless
Request Type: Official Inmate Grievance
Request Time: 03 l0I 12021 09:56: I 0 AM

State your grievance in a brief, clear and understandable manner.                                If vulgar language is used the grievance will
be rejected.

requestText

To Ned Wohlman
Grievance last night

I'd like two copies printed and sealed provided to me. I feel you do not have my safety concems as a priority
since these type of allegations would reflect poorly on your facility... if you think these were baseless
allegations against two of your offtcers why do think I was trying to relay private information to my probation
officer? Your officer snooped through my messages and saw that I recently wrote to Mara Gottfried of the
Pioneer Press and assumed I was turning them in and began threatening me so I turned to you for help and you
Ignored me so please just print me two copies of both last nights grievance and this one and bring me two
envelopes please




List any actions below that you have taken to resolve the issue. State which staff members you have spoken to.

actionTaken

I wrote you a grievance but these are not private
